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U.S. DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
FILE - 30-20/G
UNITED STATES DISTRICT COURT WILLIAM W. BLEVINS
EASTERN DISTRICT OF LOUISIANA CLERK
UNITED STATES OF AMERICA * CRIMINAL NO. 19-90
v. * SECTION: “I”
KENNETH CHARITY *
* * *
FACTUAL BASIS

The defendant, KENNETH CHARITY (“CHARITY”), has indicated that he intends to
plead guilty as charged to Count One, that is, conspiracy to commit bank fraud, in violation of 18
U.S.C. § 1349, of the Bill of Information pending against him.

The United States and CHARITY do hereby stipulate and agree that the allegations in the
Bill of Information and the following facts are true and correct and that, should this matter have
proceeded to trial, the government would have proven them beyond a reasonable doubt, through
the introduction of competent testimony and admissible tangible and documentary exhibits. This
Factual Basis does not set forth all of the facts known to the United States or CHARITY at this
time. The limited purpose of this Factual Basis is to demonstrate that there exists a sufficient legal
basis for CHARITY’s guilty plea. By their signatures below, the parties expressly agree that there
is a factual basis supporting the defendant’s guilty plea. The parties also agree that this Factual
Basis may, but need not, be used by the United States Probation Office and the Court in
determining the applicable advisory guideline range under the United States Sentencing Guidelines

or the appropriate sentence under 18 U.S.C. § 3553(a).

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INTRODUCTION
A. FIRST NBC BANK

1. At all times material to the Bill of Information, First NBC Bank was a financial
institution, as defined in Title 18, U.S.C. § 20, and a member of the Federal Deposit Insurance
Corporation (“FDIC”) with federally insured deposit accounts.

2. First NBC Bank was established in or about 2006, with its headquarters in New
Orleans, Louisiana, which was within the Eastern District of Louisiana, and had branch offices in
Louisiana, Mississippi, and Florida.

3. First NBC Bank was the wholly-owned subsidiary of First NBC Bank Holding
Company. Bank President A was a founder of First NBC Bank and acted as its President and Chief
Executive Officer from on or about May 2006, until on or about December 2016.

4. In or around May 2013, First NBC Holding Company became a publicly-traded
company listed on the NASDAQ.

5. On or about April 28, 2017, First NBC Bank was closed by the Louisiana Office of
Financial Institutions. The FDIC was named Receiver.

B. THE PARTIES AND THE LOANS WITH FIRST NBC BANK

6. From a time unknown but in or around February 2007, CHARITY had a banking
relationship with First NBC Bank where Bank President A acted as CHARITY’s loan officer.

7. Nominee D was a physician and friend of CHARITY who lived and practiced
medicine in the Washington, D.C. suburbs. Nominee D was not CHARITY’s sister by blood,

marriage, or adoption.

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8. Nominee D was the sole member of MO78255, a limited liability company,
registered with the Louisiana Secretary of State, and domiciled in Mandeville, LA.

9. CHARITY was the sole member of the limited liability companies DMK Group
Three, DMK. Group Five, 190W1515, DMK Acquisitions & Properties, and 21W104, and had
power of attorney to act on behalf of MO78255, collectively “the Entities.”

10. | Nominee D did not have a bank account at First NBC Bank and was not a signatory
on any of the accounts held by CHARITY or the Entities at First NBC.

11. From a time unknown, but on or before February 15, 2007, Bank President A acted
as the loan officer on Nominee D’s loans, CHARITY’s loans, and the loans belonging to the
Entities, collectively “CHARITY Loans.”

12. By the time First NBC Bank failed in late April 2017, the balance on the
CHARITY Loans was more than approximately $18 million.

C. COUNT 1: CONSPIRACY TO COMMIT BANK FRAUD

13. Frominor around July 2007, through in and around November 2016, in the Eastern
District of Louisiana and elsewhere, CHARITY and others known and unknown, did knowingly
and willfully combine, conspire, confederate, and agree to commit offenses against the United
States of America, that is: to knowingly, and with intent to defraud, execute and attempt to execute
a scheme and artifice to defraud First NBC Bank, a financial institution, and to obtain any of the
moneys, funds, credits, and assets, owned by and under the custody or control of First NBC Bank,

by means of false and fraudulent pretenses, representations, and promises, relating to a material

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14. The purpose of the conspiracy was for CHARITY, Bank President A, and others
to disguise the true financial condition of CHARITY and the Entities’ by renewing and increasing
loans, paying mature loans with new loans, making loan payment with loan proceeds, and using
loan proceeds to cover overdrafts. This practice made it falsely appear that CHARITY and the
Entities’ loans were current and that they had no overdrafts.

15. Specifically, CHARITY, Bank President A, and others provided First NBC Bank
with materially false and fraudulent loan documents, and financial statements, which, among other
things, overstated assets, understated liabilities, inflated collateral values, and overstated
CHARITY ’s cash flow. The documents also fraudulently described Nominee D as CHARITY’s
sister.

RELATIONSHIP WITH BANK PRESIDENT A

16. | Aswas the case with a select group of borrowers at First NBC Bank, Bank President
A was CHARITY’s loan officer and CHARITY and his Entities enjoyed a special status at the
bank where Bank President A and others regularly circumvented the bank’s loan policies to funnel
money to un-creditworthy and unqualified borrowers.

17. Employees of First NBC Bank would testify that Bank President A and his
administrative staff kept a list of problem borrowers who consistently had overdrafts on their
deposit accounts. Rather than charging these borrowers overdraft fees and ultimately terminating
their account at the bank, Bank President A fraudulently cured the overdraft status of these problem
borrowers by applying loan proceeds to pay the overdrafts, therefore making it appear that these

borrowers were servicing their accounts and had sufficient cash flow to pay their recurring bills.

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Bank President A’s assistants called these borrowers the “D.O.R.K.S.” CHARITY was the “K”
in D.O.R.K.S.

18. Bank President A’s daily monitoring of the D.O.R.K.S.’s overdraft status allowed
him to use First NBC Bank funds to pay CHARITY’s overdrafts. This practice ensured
CHARITY and other D.O.R.K.S. were not on the month-end overdraft report.

19. Bank President A’s practice of covering CHARITY’s overdrafts was particularly
problematic because of his personal knowledge of CHARITY’s excessive spending and use of
loan proceeds to finance his lifestyle. CHARITY regularly signed disbursement statements falsely
declaring that the purpose of the loan proceeds were for a certain business purpose but then would
use the proceeds for travel, cars, clothing, or his children’s private school tuition. Bank President
A, CHARITY ’s loan officer, would monitor the status of CHARITY’s accounts on a monthly
basis by taking CHARITY-related “homework” to his house at night to review. Bank President A
completed monthly analyses of CHARITY’s accounts, detailing the date, payee, and amount of
all transactions and whether they were business or personal. He would also identify loan payments
due and overdrafts. He directed his assistants to the specific funds they should use to pay the
Charity Loans and overdrafts. Documents show that Bank President A reconciled CHARITY’s
accounts down to the dollar and was well-aware that CHARITY did not spend and demonstrated
no intention of spending the loan proceeds for the approved purpose.

20. In heated exchanges with CHARITY, Bank President A frequently acknowledged
CHARITY had insufficient cash flow to pay his loans at the bank. Despite this, Bank President A

never put CHARITY in default status or foreclosed on any of his collateral.

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21. | Forexample, in an email to CHARITY dated January 30, 2013, more than six years
into CHARITY’s loan relationship with First NBC Bank, Bank President A said:

Ken, read what you wrote and evaluate who is imbecilic. You
represented over a dozen times to me that you had the documents
signed by [Nominee D] and had sent them to us. Instead, she never
sent them as you now admit...... is it my fault you didn’t pay your
taxes over a year ago? Is it my fault you call for money you don’t
have’?......If you don’t like my frustration at your consistent inability
to carry out the simplest business activities I suggest you move your
business to a bank that will give you the level of service you believe
you deserve. The way I see it any other bank would have foreclosed
on you years ago if you indeed could get a loan from them in the
first place...... Especially frustrating is that I spent a long time this
weekend summarizing all your 2011 business transactions to
prepare 2011 financials and tax returns... . You think another bank
president would do that for a borrower. On second thought, you may
be right, I must be an imbecile.

22. Despite acknowledging that any other bank would had “foreclosed on [CHARITY]
years ago,” Bank President A continued to loan CHARITY and the Entities funds totaling more
than $5.2 million dollars.

23. In or around the Fall of 2016, CHARITY and Bank President A participated in a
recorded phone conversation that lasted one hour and forty-seven minutes. During the phone call,
Bank President A told CHARITY repeatedly that he was a liar, incompetent, and did not “do
anything that generates any money.”

24. | CHARITY’s bank records would show that CHARITY spent over $3 million in
loan proceeds on personal items, including country club dues, car purchases, jewelry, and other

luxury items. The loan disbursement sheets for these funds stated that they were to be used for

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business purposes. Bank President A was aware of the fact that CHARITY spent loan proceeds
contrary to the purposes stated in the loan documents.
FALSE PERSONAL FINANCIAL STATEMENTS

25. Onor about July 2010, CHARITY and Bank President A knowingly and
intentionally submitted false and fraudulent information about CHARITY’s assets to First NBC
Bank in support of a loan. In the 2010 personal financial statement, Bank President A and
CHARITY falsely listed a $350,000 trust account and $220,000 in real estate income as assets.
CHARITY and Bank President A also falsely listed 2.5 million dollars in government
subsidiaries as a receivables asset. Both CHARITY and Bank President A well-knew these
representations were false. Bank President A completed CHARITY’s personal income tax
returns for the 2010 tax year, listing CHARITY’s income as negative $867,221. CHARITY did
not file a personal income tax return in 2009.

26. Onorabout May 2011, CHARITY and Bank President A knowingly and
intentionally submitted false and fraudulent information about CHARITY’s assets to First NBC
Bank in support of a loan. In the 2011 personal financial statement, CHARITY and Bank
President A falsely listed a $350,000 trust account and $421,000 in real estate income as assets.
Both CHARITY and Bank President A well-knew these representations were false. Bank
President A completed CHARITY’s tax returns for the 2010 and 2011 tax years listing
CHARITY ’s income at negative $867,221 for 2010 and negative $1.1 million for 2011. IRS
records show that CHARITY did not file a tax return in 2011, but Bank President A prepared a

2011 Tax Return for CHARITY and his wife for CHARITY’s First NBC Bank loan file.

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27. | Onor about December 2012, CHARITY and Bank President A knowingly and
intentionally submitted false and fraudulent information about CHARITY’s assets to First NBC
Bank in support of a loan. In the 2012 financial statement, CHARITY and Bank President A
falsely listed a trust account in the amount of $350,000 as an asset, and accounts receivable in
the amount of $749,000. Bank President A completed CHARITY’s tax returns for the 2011 tax
year listing CHARITY’s income as negative $1.1 million. IRS records show the 2011 return was
not filed. CHARITY did not file a tax return in 2012.

LOAN MASKING

28. | Bank President A and others disguised CHARITY’s true financial condition by,
among other things, issuing new loans to CHARITY and the Entities, which would pay older
loans that CHARITY was unable to repay. The new loans would then appear to be current and
performing, while the old loans appeared to have been paid. In reality, CHARITY had
insufficient income or cash flow to pay his debts at First NBC Bank. Bank President A was well-
aware that CHARITY had no cash flow or ability to repay his loans at First NBC Bank, but
continued to falsely represent in bank records that CHARITY and his Entities were profitable.
This practice benefitted CHARITY because CHARITY could continue to live off loan proceeds

and was never put in a default status.

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FALSE STATEMENTS REGARDING LOAN PURPOSE

 

A. RENTAL PROPERTIES

29. | Sometime before December 2007, CHARITY purchased several properties in the
New Orleans area to develop as rental properties. Several of these properties were never developed
and several were never rented, did not have electricity, or had been deemed uninhabitable. Between
approximately 2007 and approximately 2016, First NBC Bank advanced hundreds of thousands of
dollars to CHARITY for renovations to the rental properties. Bank President A was aware that
CHARITY was not renting many of these properties and spent loan proceeds meant to renovate
the properties on personal expenses.

30. Beginning as early as December 5, 2007, Bank President A, Bank Officer B, and
Bank Officer C were aware that several of CHARITY’S properties were not rented and that
CHARITY had already spent much of the money that First NBC Bank had lent CHARITY to
complete the renovations.

31. On December 5, 2007, Bank Officer C sent an interoffice memorandum to Bank
President A and Bank Officer B discussing First NBC Bank’s loans to CHARITY and
CHARITY’S properties. The memorandum listed multiple properties that caused Bank Officer C
“concern.”

32, One property discussed in the memorandum, the Vasquez Site, had been the subject
of a loan that was supposed to go toward construction expenses and improvements. When Bank

Officer C visited the Vasquez Site, there were no workers present and no evidence of dumpsters

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or other construction materials. The memorandum noted that at that point (December 2007), First
NBC Bank had funded $244,000 against a site valued at $240,000.

33. | The memorandum concluded that “all” of CHARITY’s projects “have blown
budgets and excessive spending” and that “steps must be taken to protect the bank’s loan and
collateral positions.” The memorandum further stated that “significant risks exists [sic] and are
continuing to accrue should we not address these situations.”

34. CHARITY and First NBC Bank continued their loan relationship for
approximately nine years after Bank Officer C’s memorandum was sent to Bank President A and
Bank Officer B, including on loans for properties described in the memorandum. Bank President
A, as CHARITY’s loan officer at First NBC Bank, approved these loans despite knowing that
CHARITY did not use the loan proceeds to develop or rent at least seven of the residential
properties, which were uninhabitable.

B. LAKE TERRACE SHOPPING CENTER

35. Notably, in 2007, CHARITY, through one of the Entities, purchased the Lake
Terrace Shopping Center in New Orleans using loan proceeds from First NBC Bank. CHARITY
sold the shopping center to a developer in February 2016.

36. During the time that CHARITY owned the shopping center, CHARITY and Bank
President A represented to First NBC Bank that CHARITY needed additional loan proceeds to
develop the property. Also during this time, CHARITY and Bank President A represented to First
NBC Bank and others that development of the shopping center was about to begin or that it would

soon be completed.

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37. Contrary to these representations, the shopping center was never developed and
was cited for blight while CHARITY owned it, until 2016, when it was sold. As late as December
2015, Bank President A falsely and fraudulently represented to an auditor that the shopping center
was under construction or close to being finished. When CHARITY sold the shopping center in
February 2016, it was in such a state of disrepair that the City of New Orleans included as a
condition of the sale that the new owner demolish the property within 60 days of the purchase.

38. Loan proceeds that were supposed to go toward development of the shopping center
went into an account controlled by CHARITY. CHARITY spent money from this account on,
among other things, a service for his swimming pool, attorney’s fees, and overdraft fees at First
NBC Bank.

39. | Nominee D was listed on the loans related to the rental properties, including Lake
Terrace Plaza as either a co-borrower or guarantor. Despite her guaranteeing all the loans,
CHARITY and Bank President A never disclosed to Nominee D that CHARITY spent the loan
proceeds on personal expenses.

Cc. 620 DECATUR STREET ENCLOSURE

40. CHARITY and Bank President A also lied about the status of another loan and
development project. In July 2008, CHARITY through his Entity DMK Group Three, LLC,
purchased a commercial unit located at 620 Decatur Street in the French Quarter with loan
proceeds. On or about March 30, 2012, CHARITY leased the unit to Huey’s 24/7 Diner through

on or about April 31, 2017.

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41. Onor about August 27, 2014, Bank president A approved an increase of
approximately $980,000 on a line of credit for CHARITY and Nominee D.

42. Three days earlier, Bank President A explained in a credit memorandum, which
was placed in First NBC Bank’s books and records, that the purpose of the increase was to
complete the development of two gas stations and property at 620 Decatur Street in New
Orleans. Specifically, the credit memorandum represented that $350,000 would be used to
enclose a large part of the patio area at 620 Decatur Street. The credit memorandum also stated
the project would take four to five weeks, with the goal of being completed by October, in time
for convention season. CHARITY signed the disbursement request and authorization,
representing that the purpose of the loan was to finance renovations to 620 Decatur Street and
three gas stations.

43. Despite these representations in First NBC Bank’s records, on or around August
29, 2014, Bank President A authorized the initial disbursement of $175,963.10 to cover
$175,041.60 in overdrafts in CHARITY’s account ending in 8627. CHARITY caused the
overdrafts to incur by making loan payments, paying personal expenses such as personal credit
cards charges, student loans, and jewelry. The funds did not go toward the patio, as promised.

44, Almost a year and a half later, on or about December 27, 2015, Bank President A
approved a second increase in the line of credit for CHARITY and Nominee D related to the
patio enclosure at 620 Decatur Street. This increase was for $500,000.

45. Four days earlier, on or about December 23, 2015, Bank President A drafted a

credit memorandum falsely stating that the purpose of the increase was for CHARITY and

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Nominee D to complete the development of three gas stations and property at 620 Decatur Street.
Specifically, the credit memorandum stated that $350,000 of the $500,000 would fund the
enclosure of a large part of the patio area at 620 Decatur Street. Bank President A repeated that
the project would take four to five weeks, with the goal of being completed by October, in time
for convention season.

46. CHARITY signed the disbursement request and authorization, falsely
representing the specific purpose of the loan was to finance renovations to 620 Decatur Street
and three gas stations. The initial $8,077.37 disbursement on or around December 31, 2015
covered the interest for the loan. Between February 3, 2015, and March 31, 2016, there were an
additional 18 disbursements totaling approximately $572,434.63, which were used, in part, to
pay for legal fees unrelated to Decatur Street, CHARITY’s children’s tuition, credit card
payments for personal expenses, and life insurance policies. The funds did not go toward the
patio, as promised.

47. Onor about August 31, 2016, Bank President A approved a third increase of
$500,000 on the line of credit for CHARITY and Nominee D, purportedly to fund the patio
enclosure for 620 Decatur Street. The stated purpose for the loan in the credit memorandum
dated August 31, 2014, and authored by Bank President A, was to enclose the patio at 620
Decatur Street, costing an estimated $500,000. CHARITY signed the disbursement request and
authorization representing that the specific purpose of the loan was to finance renovation to 620

Decatur Street to enclose the patio covered patio.

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48. Between August 31, 2016, and December 8, 2016, there were approximately 47
disbursements from the line of credit deposited into CHARITY’s account ending in 2440,
totaling roughly $476,555.27. The funds disbursed included payments for school tuition,
personal credit card expenses, life insurance policies, and loan payments. The funds did not go
toward the patio enclosure, as promised.

49. From in or around August 2014 through in or around December 2016, Bank
President A was aware that CHARITY did not spend the loan proceeds for their intended
purpose, to enclose the patio. Boxes of documents recovered from Bank President A’s house
show that he scheduled CHARITY’s income and expenses on a monthly basis and was aware
that CHARITY did not use the loan proceeds to build the enclosure. Records show that Bank
President A approved 1.2 million dollars for a $350,000 enclosure that Bank President A knew
CHARITY never started and never completed.

50. City of New Orleans records and observation of the property confirm that the

patio was never enclosed at 620 Decatur Street.

51. | Nominee D was listed on the loans related to the enclosure as a guarantor. Despite
her being a guarantor, CHARITY and Bank President A never disclosed to Nominee D that

CHARITY spent the loan proceeds on personal expenses.

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NOMINEE LOANS
A. NOMINEE D

52. Atatime unknown but sometime after Hurricane Katrina, CHARITY
approached Nominee D and asked her if she wanted to enter into a business with CHARITY
where they would redevelop blighted properties in the New Orleans area. Nominee D agreed, but
due to her busy schedule as a practicing physician and her inability to travel between
Washington, D.C. and New Orleans with frequency, she signed a limited power of attorney
delegating some responsibilities associated with purchasing real estate to CHARITY.

53. At a time unknown, Bank President A advised CHARITY that he needed the
backing of his sister as guarantor in order to receive loans from the bank.

54. Bank President A had his employees “book” loans without receiving signatures
from Nominee D. Sometimes Bank President A would approve loans and disburse funds, and
then, after the fact, seek Nominee D’s signatures.

55. Trusting Bank President A and CHARITY, Nominee D often signed documents
without reading them or realizing the purpose of the loans.

56. | From December 2009 to February 2018, Nominee D sent CHARITY more than
$900,000 dollars, which was deposited in to CHARITY’s account at JP Morgan Chase.
CHARITY spent a significant portion of the money on his personal expenses and not for

business ventures that Nominee D and CHARITY had previously discussed.

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B. OLD MILITARY ROAD

57. CHARITY requested that Bank President A arrange for First NBC Bank to make
several loans to Nominee D. The proceeds from these loans went to CHARITY or into bank
accounts owned by him, and never went to Nominee D. CHARITY’s status at First NBC Bank
and his poor credit rating would have made it difficult for CHARITY to obtain these loans had
they not been in Nominee D’s name.

58. For example, in 2012, CHARITY used loan proceeds from First NBC Bank to
purchase a house on Old Military Road in Covington, Louisiana. CHARITY put the offer on the
house, signed a contract as a buyer, and the realtors believed that the house was for CHARITY.
In September 2012, Bank President A wrote a letter addressed to CHARITY saying that First
NBC Bank would do its best “to position the loan approval” for the Old Military Road home.

59. In October 2012, Bank President A prepared a Credit Memorandum for the Old
Military Road loan. In the credit memorandum, Bank President A listed Nominee D as the
borrower before scratching out Nominee D’s name and replacing it with MO78255, a limited
liability corporation for which Nominee D was the only member. The Credit Memorandum
falsely stated that Nominee D was CHARITY’s sister, even though Nominee D and CHARITY
were not related, they were college friends. The credit memorandum also falsely stated that
Nominee D, who worked as a physician in the Washington D.C. area, sought to buy CHARITY
a home in Covington, Louisiana, as an “investment property.” Bank President A falsely stated in
the credit memorandum that the house would be rented to CHARITY and his family and would

“increase [Nominee D’s] cash flow by close to $100,000 by reducing her tax bill.” In the credit

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memorandum and in a subsequent meeting with the First NBC Bank Board Loan Committee,
Bank President A stated that the primary source of repayment for the loan would be cash flow
from Nominee D’s medical practice.

60. _Inreality, CHARITY contacted Nominee D multiple times to ask if Nominee D
would cosign the Old Military Road loan and Nominee D refused. CHARITY then told
Nominee D that, if she cosigned, her name would come off the loan after one year. At that point,
Nominee D agreed to sign the loan based in the name of MO78255 on her understanding that,
after one year, her name would be removed. However, CHARITY did not ever sign the loan,
and the credit memorandum refers to the loan as being a “loan to [Nominee D].” Nominee D’s
name never came off the loan.

61. CHARITY and Bank President A knew that CHARITY was not renting the
home from Nominee D, despite the fact that Bank President A falsely described that CHARITY
would be paying Nominee D rent in the Credit Memorandum in the bank’s books and records.
Further, CHARITY and Bank President A knew that Nominee D was not making payments
toward the Old Military Road loan. The loan was paid entirely with loan proceeds from other
Charity Loans.

CONCLUSION

62. CHARITY made false statements to First NBC Bank and others in order to

fraudulently receive loan proceeds from First NBC Bank. Bank President A facilitated

CHARITY’s fraud by approving loans despite his knowledge that CHARITY’s statements were

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false. Bank President A also made his own false statements related to CHARITY. CHARITY’s

and Bank President A’s conduct constitute a criminal agreement to defraud First NBC Bank.

 

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Attorney for Defendant

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